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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                               Case Nos.    5:04cr23/MCR
                                                              5:14cv154/MCR/GRJ
ROBERT JOHN COOK
_________________________________/

                                       ORDER
       This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated June 25, 2014. (Doc. 291). The parties have been furnished a
copy of the Report and Recommendation and have been afforded an opportunity to file
objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made a de
novo determination of any timely filed objections.
       Having considered the Report and Recommendation, and any objections thereto
timely filed, I have determined that the Report and Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.    The magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
       2.    The motion to vacate, set aside, or correct sentence (doc. 290) is summarily
DENIED and DISMISSED as untimely.
       3.    A certificate of appealability is DENIED.
       DONE AND ORDERED this 25th day of July, 2014.



                                           s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           CHIEF UNITED STATES DISTRICT JUDGE
